                     IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA

      Plaintiff,

v.                                                Case No. 22-CR-424 MIS

RICKY L. ROMERO, JR.,

      Defendant.

                     ORDER GRANTING SECOND UNOPPOSED
                   MOTION TO AMEND CONDITIONS OF RELEASE

      This Court, having considered the unopposed motion to amend conditions of

release, and after reviewing the relevant pleadings, finds that said motion should be

GRANTED.

      IT IS THEREFORE ORDERED that condition 7F be permitted, giving Mr.

Romero’s Pretrial officer discretion to expand Mr. Romero’s travel for work purposes.

All other conditions of Mr. Romero’s release remain the same.

      SIGNED on this the      25th    day of   April , 2022.




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                                         GREGORY B. WORMUTH
                                         UNITED STATES MAGISTRATE JUDGE
